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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

                                          CA SE N O :22-14102-CV -M 1D DLEBR OO K S                                               .

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                          O R DE R STR IK IN G M O TIO N FO R M ISCE LLAN EO U S R ELIEF
                 THIS CA U SE com esbefore the Courton non-party John J.M ccarthy's Om nibus M otion

       forttM any ThingsM otion Herein,MotionNuncPro Tunc''filed on October6,2022.(DE 271.
                                                                                         ).                                                   .
       The M otion doès notstate w ho John J.M cc arthy is orF hy he has any interestin this litigation.

       Accordingly,itisORDERED AND ADJUDGED thatM r.M ccarthy'sM otion (DE 271)is
       STRICK EN.


                 SIGN ED in Cham bers atW estPalm Beach,Florida,this 20th day of October,2022.



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                                                                                     Donald M .M iddlebrooks
                                                                                     U nited StatesD istrictJudge

       cc:       CounselofRecord
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